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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISON

In re: 3M COMBAT ARMS                       MDL Case No. 3:19-MD-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document relates to All Cases          Judge M. Casey Rodgers
                                            Magistrate Judge Hope T. Cannon



                  NOTICE OF WITHDRAWAL OF COUNSEL
                PURSUANT TO LOCAL RULE 11.1(H)(1)(B) AND
               REQUEST FOR REMOVAL FROM SERVICE LIST



       PLEASE TAKE NOTICE that Paula S. Bliss, formerly of the law firm of
Bernheim Kelley Battista & Bliss, hereby withdraws as attorney of record for Plaintiffs,
John Campanale, Jr., Steven Conroy, Tyler, Cook, Vebi Kadriji, Valdete Kadriji, Joshua
Molina, Sabrina Molina, Risan Ramadani, Liridona Ramadani, Rijad Ramadani and
Semra Ajoini Ramadani, in the above-referenced multi-district litigation, and should be
removed from the docket and electronic service list accordingly. As required by Local
Rule 11.1(H)(1)(b), Plaintiffs consent to this withdrawal, and the withdrawal will leave
Plaintiff with Nicholas A. Brown as counsel of record, who will continue in the cases.


Dated: May 19, 2023                         /s/ Paula S. Bliss________________
                                            Paula S. Bliss, Bar #652361
                                            Justice Law Collaborative, LLC
                                            19 Belmont Street
                                            South Easton, MA 02375
                                            (508) 230-2700
                                            Paula@justicelc.com
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                            CERTIFICATE OF SERVICE

       I certify that on May 19, 2023, I filed and served through the ECF system; the
Notice of Withdrawal of Appearance form. The Notice will be sent electronically via the
ECF system to the registered participants as identified on the Notice of Electronic Filing
(NEF).


                                             /s/ Paula S. Bliss______
